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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC           §
                                     §
       Plaintiff,                    §           Case No: 2:15-cv-01183-JRG-RSP
                                     §
.vs.                                 §
                                     §
 LVMH WATCH & JEWELRY USA, INC. §
                                     §
       Defendant.                    §
 ___________________________________ §

         ORDER ON UNOPPOSED MOTION TO SUBSTITUTE DEFENDANT

      On this day the Court considered the Unopposed Motion to Substitute Defendant.

Dkt. No 5. The Court is of the opinion that the Motion should be, and is hereby, GRANTED.

      It is therefore ORDERED that Defendant, LVMH Watch & Jewelry USA, Inc. is

substituted for TAG Heuer USA.
         SIGNED this 3rd day of January, 2012.
      SIGNED this 9th day of September, 2015.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE
